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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION



KIRK NIELSEN et al.,

                   Plaintiffs,
                                               CONSOLIDATED
v.                                             CASE NO. 4:20cv236-RH-MJF

RON DESANTIS et al.,

          Defendants.
___________________________________________________/


                                ORDER ALLOWING REPUBLICAN
                                ORGANIZATIONS TO INTERVENE


         This case presents a challenge to Florida voting procedures. The defendants

are state and county officials. Three organizations affiliated with the Republican

Party have moved for leave to intervene as defendants either as a matter of right

under Federal Rule of Civil Procedure 24(a) or permissibly under Rule 24(b).

         The plaintiffs oppose the motion. They assert the proposed intervenors’

interests are adequately represented by the existing defendants, an assertion that, if

accepted, would be fatal, under the circumstances of this case, to intervention as of

right under Rule 24(a). The plaintiffs assert permissive intervention under Rule

24(b) should be denied because, among other things, the proposed intervention

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would delay the litigation without adding anything of value—that is, without

providing input that will improve the quality of decision-making.

         Permissive intervention is committed to the district court’s discretion. See,

e.g., Chiles v. Thornburgh, 865 F.2d 1197, 1215 (11th Cir. 1989); League of

Women Voters of Fla. v. Detzner, 283 F.R.D. 687 (N.D. Fla. 2012). Here, it cannot

be said with assurance that the existing parties will frame the issues so well that the

proposed intervention will add nothing of value. Even good lawyers sometimes

miss things. So do judges. These proposed intervenors are not marginally affected

individuals; they are substantial organizations with experienced attorneys who

might well bring perspective that others miss or choose not to provide.

         Delay can be avoided through good case management. The intervenors

should expect to comply with the schedule that would be followed in their

absence—an approach consistent with the position they have taken to date.

         As a matter of discretion, this order grants permissive intervention under

Rule 24(b).

         IT IS ORDERED:

         The motion for leave to intervene, ECF No. 53, is granted. These parties are

added as defendants: the Republican National Committee, the National Republican




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Congressional Committee, and the Republican Party of Florida.

          SO ORDERED on May 28, 2020.

                                         s/Robert L. Hinkle
                                         United States District Judge




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